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      DEPARTMENT OF HEALTH & HUMAN SERVICES                             Office of the Secretary
                                                                     Assistant Secretary for Public Affairs
                                                                                 Washington, D.C. 20201



Refer to: Request Number 2022-01072-FOIA-OS

August 09, 2022

Sent via email:
Reed Rubinstein
foia@aflegal.org

Dear Mr. Rubinstein:

This acknowledges receipt of your August 08, 2022, Freedom of Information Act (FOIA)
request, submitted to the Department of Health and Human Services (HHS), FOI/Privacy Acts
Division concerning “See PDF Attached (Date Range for Record Search: From 03/01/2020 To
09/01/2020)”. We received your request on August 09, 2022.

Because you seek records which require a search in another office, “unusual circumstances”
apply to your request, automatically extending the time limit to respond to your request for ten
additional days. See 5 U.S.C. 552 § (a)(6)(B)(i)-(iii) (2012 & Supp. V. 2017). Further, we
estimate needing more than 10 additional days to respond to your request and so, in the next
paragraph of this letter we are offering you an opportunity to narrow yo ur request, in case
narrowing the request would enable us to respond to the request sooner. The actual time needed
to process your request will depend on the complexity of our records search and on the volume
and complexity of any material located. For your information, this Office assigns incoming
requests to one of three tracks: simple, complex, or expedited. Each request is then handled on a
first-in, first-out basis in relation to other requests in the same track. Our current workload is
approximately 3000 cases.

Your request is assigned to the complex track. In an effort to speed up our records search, you
may wish to narrow the scope of your request to limit the number of potentially responsive
records or agree to an alternative time frame for processing, should records be located. You may
also wish to await the completion of our records search to discuss either of these options.

I regret the necessity of this delay, but I assure you that your request will be processed as soon as
possible. If you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, you may contact the analyst handling your request, Ruhma
Sufian at Ruhma.Sufian@hhs.gov.

If you are not satisfied with any aspect of the processing and handling of this request, you have
the right to seek dispute resolution services from:
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                      HHS FOIA/PA Public Liaison
                      FOI/Privacy Acts Division
                      Assistant Secretary for Public Affairs (ASPA)
                      Office of the Secretary (OS)
                      U.S. Department of Health and Human Services (HHS)

                      Telephone: (202) 690-7453
                      E-mail: HHS_FOIA_Public_Liaison@hhs.gov

and/or:

                      Office of Government Information Services
                      National Archives and Records Administration
                      Telephone: 202- 741-5770
                      Toll-Free: 1-877-684-6448
                      E-mail: ogis@nara.gov

If you are not already submitting your requests through our Public Access Link (PAL), we
recommend all future requests and appeals be submitted through PAL -
https://requests.publiclink.hhs.gov/. Submitting requests through PAL automatically logs your
requests into our tracking system and provides you with a tracking number. Your PAL account
will allow you to track the progress of your request, receive your documents directly through the
portal, and securely submit privacy-sensitive or business-sensitive documents.


                                             Sincerely yours,




                                             Arianne Perkins
                                             Director, Initial FOIA Requests
                                             FOI/Privacy Acts Division
